    Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 1 of 8


From:                   Armstrong, Scott (CRM)
To:                     Kim, Elise (CRM)
Cc:                     Liolos, John (CRM)
Subject:                FW: [EXTERNAL EMAIL] - New Package Is Waiting
Date:                   Monday, June 5, 2023 10:34:48 PM




From: Armstrong, Scott (CRM)
Sent: Thursday, October 6, 2022 9:09 AM
To: Jeremy Hale <jshale@fbi.gov>
Subject: RE: [EXTERNAL EMAIL] - New Package Is Waiting

thanks

From: Jeremy Hale <jshale@fbi.gov>
Sent: Thursday, October 6, 2022 8:02 AM
To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
Subject: Fwd: [EXTERNAL EMAIL] - New Package Is Waiting

I'll put it to the case file too but here it is.

From: Beardsley, Allie <Allie.Beardsley@Schwab.com>
Sent: Thursday, October 6, 2022 6:54:28 AM
To: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>
Cc: TPLP Subpoena - TDA <TPLPSubpoena-TDA@schwab.com>
Subject: RE: [EXTERNAL EMAIL] - New Package Is Waiting

Good Morning,

Trade reports are all in Central Time Zone.

Thanks, A

______________________

Allie Beardsley
Manager | Legal Services
                                                   
Tel 402 574 6899 | Fax 402 970 8420
200 S. 108th Ave, Omaha, NE 68154

Charles Schwab & Co., Inc.
NOTICE: All email sent to or from the Charles Schwab corporate email system is subject to archiving, monitoring and/or
review by Schwab personnel.

TD Ameritrade Holding Corporation was acquired by The Charles Schwab Corporation on October 6, 2020. As such,
correspondence regarding TD Ameritrade Holding Corporation matters may be addressed by The Charles Schwab
Corporation.




                                                                                                    DOJ-PROD-0000362464
   Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 2 of 8


From: Jeremy Hale <jshale@fbi.gov>
Sent: Wednesday, October 5, 2022 2:56 PM
To: Z$Legal Process <zlegalprocess@tdameritrade.com>
Subject: Re: [EXTERNAL EMAIL] - New Package Is Waiting

Hello,

For the below referenced subpoena production, can you please tell me what the time zone for
the trade reports.

Thank you,

SA Jeremy Hale

FBI Houston

Desk: 713-936-8773

Cell: 713-202-6384



From: Beardsley, Allie <Allie.Beardsley@Schwab.com>
Sent: Friday, July 29, 2022 12:22 PM
To: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>
Cc: Z$Legal Process <zlegalprocess@tdameritrade.com>
Subject: RE: [EXTERNAL EMAIL] - New Package Is Waiting

Hello,

I will be sending the documents requested for the above-named case shortly. Please follow the
instructions on the next e-mail with the subject “New Package Is Waiting”. This e-mail will contain a
link to our secure e-mail site.

If you do not receive an e-mail with a username and password: Use your e-mail address as the
username and click on "Request a password change" link. You should then receive a follow up e-mail
with password information.

Please note, the documents will only be available for 21 days on this website. To avoid further delay,
download the records as soon as possible.

If you have any questions, please feel free to reach out.

Thank you,

______________________


                                                                                    DOJ-PROD-0000362465
    Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 3 of 8



Allie Beardsley
Manager | Legal Services
                                                   
Tel 402 574 6899 | Fax 402 970 8420
200 S. 108th Ave, Omaha, NE 68154

Charles Schwab & Co., Inc.
NOTICE: All email sent to or from the Charles Schwab corporate email system is subject to archiving, monitoring and/or
review by Schwab personnel.

TD Ameritrade Holding Corporation was acquired by The Charles Schwab Corporation on October 6, 2020. As such,
correspondence regarding TD Ameritrade Holding Corporation matters may be addressed by The Charles Schwab
Corporation.




From: Beardsley, Allie
Sent: Tuesday, July 26, 2022 12:19 PM
To: Jeremy Hale <jshale@fbi.gov>
Cc: Z$Legal Process <zlegalprocess@tdameritrade.com>
Subject: RE: [EXTERNAL EMAIL] - New Package Is Waiting

I want to assure you that we are not intentionally withholding any information or trying to hinder
your case. Unfortunately, my team does not have access to a lot of what you’re asking for. For our
initial productions, we send you what we do easily have access to. Right now we’re waiting on other
departments to help fulfill the rest of the items you’re missing. We’d be happy to send you a rolling
production as those items are sent to us.

Thanks, A

______________________

Allie Beardsley
Manager | Legal Services
                                                   
Tel 402 574 6899 | Fax 402 970 8420
200 S. 108th Ave, Omaha, NE 68154

Charles Schwab & Co., Inc.
NOTICE: All email sent to or from the Charles Schwab corporate email system is subject to archiving, monitoring and/or
review by Schwab personnel.

TD Ameritrade Holding Corporation was acquired by The Charles Schwab Corporation on October 6, 2020. As such,
correspondence regarding TD Ameritrade Holding Corporation matters may be addressed by The Charles Schwab
Corporation.


From: Jeremy Hale <jshale@fbi.gov>
Sent: Tuesday, July 26, 2022 11:46 AM
To: Beardsley, Allie <Allie.Beardsley@Schwab.com>
Cc: Z$Legal Process <zlegalprocess@tdameritrade.com>
Subject: Re: [EXTERNAL EMAIL] - New Package Is Waiting



                                                                                                    DOJ-PROD-0000362466
   Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 4 of 8


Ms. Beardsley,

Let me clarify, you're saying it is TD Ameritrade's process to intentionally withhold records
requested by a federal grand jury subpoena. So you know you had these records and you
intentionally chose not to provide them?

Thank you,




SA Jeremy Hale

FBI Houston

Desk: 713-936-8773

Cell: 713-202-6384



From: Beardsley, Allie <Allie.Beardsley@Schwab.com>
Sent: Tuesday, July 26, 2022 11:42 AM
To: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>; Liolos, John (CRM) <John.Liolos@usdoj.gov>
Cc: Z$Legal Process <ZLegalProcess@tdameritrade.com>
Subject: RE: [EXTERNAL EMAIL] - New Package Is Waiting

Good Morning,

We have received your request for additional records. Please note that is our process that with an
initial production we will only provide applications, statements, and any account modification
forms.

I apologize for the delay, I was out of the office for an extended amount of time this month and am
working to catch up. We are working diligently with multiple other departments to gather the
records requested in your follow up.    It is our plan to have the requested records to you by Friday,
7/29/22.

Thanks, A

______________________

Allie Beardsley
Manager | Legal Services
                                                   
Tel 402 574 6899 | Fax 402 970 8420
200 S. 108th Ave, Omaha, NE 68154

Charles Schwab & Co., Inc.


                                                                                    DOJ-PROD-0000362467
   Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 5 of 8


NOTICE: All email sent to or from the Charles Schwab corporate email system is subject to archiving, monitoring and/or
review by Schwab personnel.

TD Ameritrade Holding Corporation was acquired by The Charles Schwab Corporation on October 6, 2020. As such,
correspondence regarding TD Ameritrade Holding Corporation matters may be addressed by The Charles Schwab
Corporation.


From: Z$Legal Process <ZLegalProcess@schwab.com>
Sent: Tuesday, July 26, 2022 10:19 AM
To: Beardsley, Allie <Allie.Beardsley@Schwab.com>
Cc: Z$Legal Process <ZLegalProcess@tdameritrade.com>; Z$Legal Process
<ZLegalProcess@schwab.com>
Subject: FW: [EXTERNAL EMAIL] - New Package Is Waiting
Importance: High

Looking for status update your ec138097, Constantinescu

______________________

Dana Brown
Specialist | Legal Services
                                                   
Tel 402-970-7985 | Fax 402-970-8420
200 South 108th Avenue, Omaha, NE 68154

Charles Schwab & Co., Inc.
NOTICE: All email sent to or from the Charles Schwab corporate email system is subject to archiving, monitoring and/or
review by Schwab personnel.

TD Ameritrade Holding Corporation was acquired by The Charles Schwab Corporation on October 6, 2020. As such,
correspondence regarding TD Ameritrade Holding Corporation matters may be addressed by The Charles Schwab
Corporation.


From: Liolos, John (CRM) <John.Liolos@usdoj.gov>
Sent: Tuesday, July 26, 2022 9:11 AM
To: zlegalprocess@tdameritrade.com
Cc: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>
Subject: RE: [EXTERNAL EMAIL] - New Package Is Waiting

Hello,

Please immediately provide an update on the status of this subpoena response.

As SA Hale explained, the response to this subpoena was grossly inadequate and long overdue. It is
now further overdue, as is a response to SA Hale’s Friday email. TD Ameritrade’s failure to
adequately response is hindering our investigation and we expect a status update today.

Sincerely,

John J. Liolos


                                                                                                    DOJ-PROD-0000362468
   Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 6 of 8


Trial Attorney
Criminal Division, Fraud Section
U.S. Department of Justice
1400 New York Avenue NW
Washington, DC 20530
202-768-2246

From: Jeremy Hale <jshale@fbi.gov>
Sent: Friday, July 22, 2022 5:05 PM
To: zlegalprocess@tdameritrade.com
Cc: Liolos, John (CRM) <John.Liolos@usdoj.gov>
Subject: Fw: [EXTERNAL EMAIL] - New Package Is Waiting

To whom it may concern,

Please see my below e-mail to Ms. Beardsley that has gone unanswered. TDAmeritrade's
response to this subpoena was grossly inadequate and significantly over due at this point. I
need a complete response to this immediately.

Thank you,


SA Jeremy Hale

FBI Houston

Desk: 713-936-8773

Cell: 713-202-6384



From: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>
Sent: Friday, July 15, 2022 6:27 PM
To: Beardsley, Alison M <Alison.Beardsley@tdameritrade.com>
Subject: Re: [EXTERNAL EMAIL] - New Package Is Waiting

Ms. Beardsley,

Many of the requested items on the subpoena were not provided. Only statements and
account opening was provided. We need ALL items requested on the subpoena to the the
extent TDAmeritrade has the records. Missing items of note were trade blotters, records of
transfers to and from accounts (i.e. wire transfers ACH etc.), IP address logs, etc. Please review
the subpoena again and provide a complete production of records. It is holding up our
investigation to have to come back to you to request these records again. Provide them


                                                                                DOJ-PROD-0000362469
    Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 7 of 8


immediately.

Thank you,


SA Jeremy Hale

FBI Houston

Desk: 713-936-8773

Cell: 713-202-6384



From: Beardsley, Alison M <Alison.Beardsley@tdameritrade.com>
Sent: Wednesday, July 6, 2022 2:07 PM
To: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>
Subject: [EXTERNAL EMAIL] - New Package Is Waiting

New Package Notification

Welcome to TDAmeritrade! A new package has been posted for you.

Subject: TDA Subpoena Production - GJS re Constantinescu

You will be required to supply credentials in order to login and access this package. These
credentials will be provided to you either by the original sender or by another email notification.

If site policy requires it, at sign on you will be guided through additional steps to secure your
account.

Please use the following URL and your username/password to login and view this package. You will
also be given the opportunity to compose a secure reply to this package.

( https://moveit.tdameritrade.com/human.aspx?
OrgID=7077&Arg12=message&Arg06=876969857&Arg08=d20x3can1p0p47rl )


Regards,
TD Ameritrade Ad-Hoc File Transfer Notification Service

 Classification: Schwab Internal


 Classification: Schwab Internal


 Classification: Schwab Internal




                                                                                       DOJ-PROD-0000362470
  Case 4:22-cr-00612 Document 311-3 Filed on 06/17/23 in TXSD Page 8 of 8




Classification: Schwab Internal


Classification: Schwab Internal


Classification: Schwab Internal


Classification: Schwab Internal


Classification: Schwab Internal




                                                             DOJ-PROD-0000362471
